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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/font&gt;&lt;/center&gt;
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&lt;center&gt;NO. 03-&lt;a name="1"&gt;00&lt;/a&gt;-00&lt;a name="2"&gt;529&lt;/a&gt;-CR&lt;/center&gt;
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&lt;center&gt;&lt;a name="3"&gt;Ricky Gene Watkins&lt;/a&gt;, Appellant&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;The State of Texas, Appellee&lt;/center&gt;
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&lt;center&gt;FROM THE DISTRICT COURT OF &lt;a name="4"&gt;BELL&lt;/a&gt; COUNTY, &lt;a name="5"&gt;264TH&lt;/a&gt; JUDICIAL DISTRICT&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;NO. &lt;a name="6"&gt;49,086&lt;/a&gt;, HONORABLE &lt;a name="7"&gt;JOE CARROLL&lt;/a&gt;, JUDGE PRESIDING&lt;/center&gt;
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&lt;/strong&gt;Appellant Ricky Gene Watkins pleaded guilty to possessing more than four grams
of methamphetamine.  &lt;em&gt;See&lt;/em&gt; Tex. Health &amp;amp; Safety Code Ann. &amp;#167; 481.115(a), (d) (West Supp. 2001). 
The district court adjudged him guilty and assessed punishment at imprisonment for three years.

&lt;p&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;em&gt;Anders v. California&lt;/em&gt;, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  &lt;em&gt;See also&lt;/em&gt; &lt;em&gt;Penson v. Ohio&lt;/em&gt;, 488 U.S. 75 (1988); &lt;em&gt;High v. State&lt;/em&gt;,
573 S.W.2d 807 (Tex. Crim. App. 1978); &lt;em&gt;Currie v. State&lt;/em&gt;, 516 S.W.2d 684 (Tex. Crim. App.
1974); &lt;em&gt;Jackson v. State&lt;/em&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;em&gt;Gainous v. State&lt;/em&gt;, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

&lt;p&gt;We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the appeal.

&lt;p&gt;The judgment of conviction is affirmed.

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&lt;p&gt;				&lt;u&gt;                                                                       &lt;/u&gt;

&lt;p&gt;				Bea Ann Smith, Justice

&lt;p&gt;Before Justices Kidd, B. A. Smith and Puryear

&lt;p&gt;Affirmed

&lt;p&gt;Filed:   February 1, 2001

&lt;p&gt;Do Not Publish
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